             Case 3:12-cr-00147-AJB                      Document 37               Filed 02/27/12              PageID.86              Page 1 of 2


      'AO 2458 (CASD) (Rev 1/12) Judgment in a Criminal Case
                                                                                                                                   FILED
                Sheet 1




                                              UNITED STATES DISTRICT COURT                                             Itlnln'YI:DU


                                                  SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November 1, 1987)

           SERGIO OSWALDO CONTRERAS-TORRES (02)                                    Case Number: 12CROI47-AJB-02
                                                                                   Debra Ann DiIorio CJA
                                                                                   Defendant's Attorney
      REGISTRATION NO. 29916298

    o
      THE DEFENDANT:
      181 pleaded guilty to count(s) _T_w_o_o_f_th_e_In_tl_orm_a_tl_·o_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty ofsuch count(s), which involve the following offense(s):
                                                                                                                                            Count
      Title & Section                        Nature ofOtTense                                                                              Number(s)
8 USC 1324(a)(l )(A)(ii)              TRANSPORTATlONOF ILLEGAL ALIEN                                                                           2




        The defendant is sentenced as provided in pages 2 through _--..;2"--_ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o   The defendant has been found not guilty on count(s)

  D ~~ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0
                                                            --------------------------------
                                                                       are 0 dismissed on the motion of the United States.
  Ig] Assessment: $100.00 - Waived


  181 Fine waived                                   o Forfeiture pursuant to order filed --------- , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                           12CROI47-AJB-02
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AD 245B (CASD) (Rev. 1112) judgment in a Criminal Case
           Sheet 2 Imprisonment
                                                                                             Judgment - Page _ _2 _ of      2
 DEFENDANT: SERGIO OSWALOO CONTRERAS·TORRES (02)
CASE NUMBER: 12CR0147-AJB-02
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.        on ___________________

               as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before --------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNITED STArns MARSHAL


                                                                   By ________~~~~~~~~~~----------
                                                                                        DEPlITY UNIrnD STArns MARSHAL




                                                                                                                 12CR0147-AJB-02
